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16
                   IN THE UNITED STATES DISTRICT COURT
17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
     JEFF HANCOCK, Individually and on )          Case No. 2:19-cv-02602
19   Behalf of All Others Similarly Situated, )
20                                            )   CLASS ACTION COMPLAINT
                  Plaintiff,                  )   FOR:
21                                            )
22         v.                                 )      1.   VIOLATIONS OF
                                              )           47 U.S.C. § 227(b)(1)(A)(iii)
23   JACKSON HEWITT TAX SERVICE )                    2.   VIOLATIONS OF
24   INC.,                                    )           47 C.F.R. § 64.1200(d)
                  Defendant.                  )
25                                            )   DEMAND FOR JURY TRIAL
26
27
28
                                 CLASS ACTION COMPLAINT
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1           1.    Plaintiff, Jeff Hancock (“Hancock” or “Plaintiff”), brings this action
2    under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a
3    federal statute enacted in response to widespread public outrage over the
4    proliferation of intrusive, nuisance telemarketing practices. See Mims v. Arrow
5    Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).
6           2.    Plaintiff received unsolicited, autodialed text message calls over the
7    past several years, urging him to have Defendant, Jackson Hewitt Tax Service,
8    Inc. (“Jackson Hewitt” or “Defendant”) do his taxes.
9           3.    Jackson Hewitt did not have prior express written consent to send
10   these texts. Moreover, the texts Jackson Hewitt sent were impermissible because
11   Defendant had a defective internal Do Not Call policy.
12          4.    Given that these violations are widespread, and that Jackson Hewitt
13   has been sued multiple times for TCPA violations, a class action is the best means
14   of obtaining redress for Defendant’s illegal text messaging, and is consistent both
15   with the private right of action afforded by the TCPA and the fairness and
16   efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.
17                                       PARTIES
18          5.    Plaintiff is a natural person residing in Williamson County, Texas,
19   and is a “person” as defined by 47 U.S.C. § 153(39). Plaintiff, thus, is a citizen of
20   Texas. At all relevant times, Plaintiff was the subscriber for the cellular telephone
21   at issue.
22          6.    Jackson Hewitt is a Delaware corporation headquartered at 10
23   Exchange Place, 27th Floor, Jersey City, New Jersey 07302. Defendant, thus, is a
24   citizen of Delaware and New Jersey. Upon information and belief, Jackson
25   Hewitt maintains dozens of offices within this District, each of which benefits
26   from its illegal telemarketing, and each of which was required to adhere to
27   Jackson Hewitt’s defective internal Do Not Call policy.
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1           7.    Non-party CallFire, Inc. d/b/a EZ Texting (“CallFire”) is a Delaware
2    corporation headquartered in this District, at 1410 2nd Street, Suite 200, Santa
3    Monica, California 90401. CallFire, thus, is a citizen of Delaware and California.
4    Jackson Hewitt hired CallFire to send the texts that are the subject of this case,
5    and CallFire sent those texts from its offices within this District.
6                              JURISDCTION AND VENUE
7           8.    This Court has subject-matter jurisdiction under 28 U.S.C. § 1331
8    because Plaintiff’s claims arise under federal law.
9           9.    Additionally, the Court has subject matter jurisdiction pursuant to
10   the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. 1332(d)(2). The
11   matter in controversy exceeds $5,000,000 in the aggregate, exclusive of interest
12   and costs, as each member of the proposed class of at least tens of thousands is
13   entitled to up to $1,500 in statutory damages for each call that has violated the
14   TCPA. Further, Plaintiff alleges a nationwide class, which will result in at least
15   one class member residing in a state different from Defendant.
16          10.   Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial
17   part of the events and omissions giving rise to Plaintiff’s claims occurred in this
18   District.
19                                TCPA BACKGROUND
20          11.   In 1991, Congress enacted the TCPA to regulate the explosive
21   growth of the telemarketing industry. In so doing, Congress recognized that
22   “[u]nrestricted telemarketing … can be an intrusive invasion of privacy[,]” and
23   found that “[b]anning such automated or prerecorded telephone calls … is the
24   only effective means of protecting telephone consumers from this nuisance and
25   privacy invasion.” Telephone Consumer Protection Act of 1991, Pub. L. No.
26   102-243, §§ 2(5), 2(14) (1991) (codified at 47 U.S.C. § 227).
27          12.       Some of the TCPA’s most stringent restrictions pertain to calls
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1    placed to cell phones: The statute broadly bans the making of any non-emergency
2    call using an automatic telephone dialing system or an artificial or prerecorded
3    voice to any telephone number assigned to a cellular telephone service, unless
4    with the “prior express consent” of the called party.               47 U.S.C. §
5    227(b)(1)(A)(iii); see also Soppet v. Enhanced Recovery Co., 679 F.3d 637, 638
6    (7th Cir. 2012) (“An automated call to a landline phone can be an annoyance; an
7    automated call to a cell phone adds expense to annoyance.”). The FCC—charged
8    by Congress to develop the rules and regulations implementing the TCPA, see 47
9    U.S.C. § 227(b)(2)—has further strengthened this prohibition; for autodialed or
10   prerecorded voice telemarketing calls made to cell phones on or after October 16,
11   2013, prior express written consent is required. See 47 C.F.R. § 64.1200(a)(2). A
12   text message is a “call” under the TCPA. In re Rules & Regs. Implementing the
13   TCPA, 18 FCC Rcd. 14014, 14115 ¶ 165 (2003).
14         13.    The TCPA also prohibits initiating any telemarketing call unless the
15   person or entity has instituted procedures for maintaining a list of persons who
16   request not to receive telemarketing calls made by or on behalf of that person or
17   entity. 47 C.F.R. § 64.1200(d). This includes, inter alia, having a written policy,
18   available upon demand, for maintaining a do-not-call list, training personnel
19   engaged in any aspect of telemarketing on the existence and use of the do-not-call
20   list, identifying the name of the caller during each call, the name of the person or
21   entity on whose behalf the call was made, and associated phone or address
22   information, and actually honoring do-not-call requests within a reasonable time
23   from the date such request is made. Id.
24         14.    Further, a person or entity can be liable for calls made on its behalf
25   in violation of the TCPA, even if that person or entity did not directly dial such
26   calls. See, e.g., In re Rules & Regs. Implementing the TCPA, 10 FCC Rcd.
27   12391, 12397 ¶ 13 (1995) (explaining that the FCC’s “rules generally establish
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1    that the party on whose behalf a solicitation is made bears ultimate responsibility
2    for any [TCPA] violations”).
3                                           FACTS
4           15.    On about March 27, 2019, Jackson Hewitt sent Plaintiff a text
5    message to his cell phone through its texting vendor, CallFire. A partial screen
6    shot of this text message is attached as Exhibit A.
7           16.    Around the time of the text, Plaintiff was dealing with a family
8    tragedy, and the text added to the chaos of life during this difficult time.
9           17.    This text message was sent for the purpose of encouraging Plaintiff
10   to purchase Jackson Hewitt goods and services.
11          18.    This was not the first text Defendant had sent Plaintiff. Jackson
12   Hewitt sent Plaintiff’s cell phone number several similar texts in the four years
13   prior to the filing of this case.
14          19.    In March 2019, Plaintiff called his local Jackson Hewitt office to
15   complain. The person with whom Plaintiff spoke stated that the local office had
16   received numerous complaints about these texts, and that they had come from the
17   “corporate office.” The employee at the local office promised to relay Plaintiff’s
18   concerns, and request not to be called, to “corporate.”
19          20.    Although the texts he received did not instruct him to do so, Plaintiff
20   also tried reply-texting “Stop” in an attempt to make the texts cease.
21          21.    Jackson Hewitt sent the texts that are the subject of this case using an
22   automatic telephone dialing system, as that term is defined in the TCPA.
23          22.    The    texts   that   Jackson   Hewitt   sent   Plaintiff   were   form
24   communications that were sent to thousands of consumers with identical - or
25   nearly identical - verbiage.
26          23.    The texts that Jackson Hewitt sent Plaintiff were sent in “blasts” of
27   multiple texts at once.
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1          24.    Upon information and belief, the texts were sent as follows: Jackson
2    Hewitt provided – or uploaded – a list of phone numbers and other consumer
3    information to CallFire, through the Internet.
4          25.    Defendant set the parameters for texting, including computer
5    commands and settings designed to prevent the sending of texts outside
6    permissible contact hours, through a CallFire web portal. CallFire’s computers
7    used the data Jackson Hewitt provided to, for example, ensure that texts were not
8    sent too early on the West Coast, or too late on the East Coast. This function is
9    typically called “curfew.”
10         26.    CallFire’s computers stored the numbers Jackson Hewitt provided,
11   and automatically sent the texts – i.e., made the calls that are the subject of this
12   case – according to Jackson Hewitt’s instructions.
13         27.    CallFire’s computers generated a sequence for sending the texts,
14   based upon the demographic and other information Jackson Hewitt provided, and
15   then automatically dialed those numbers.
16         28.    Plaintiff and the class were damaged by these text messages, as their
17   privacy was invaded (e.g., intrusion upon seclusion and trespass), they
18   temporarily lost use of their phones, and they were forced to deal with these
19   illegal messages.
20                          CLASS ACTION ALLEGATIONS
21         29.    As authorized by Rule 23 of the Federal Rules of Civil Procedure,
22   Plaintiff brings this action on behalf of himself and a Rule 23(b)(3) (or, in the
23   alternative, Rule 23(b)(2)) class consisting of:
24
           All persons in the United States (i) to whom a text was sent for the
25         purpose of encouraging the purchase of Jackson Hewitt goods or
26         services (ii) to a cellular telephone number, (iii) using the same or
           similar texting system as was used in the calls to Plaintiff, where (iv)
27
28
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1          Jackson Hewitt did not have a signed writing authorizing automated
           telemarketing texts from Jackson Hewitt at the time such calls were
2          made (the “Class”).
3
                  Plaintiff alleges a sub-class of persons who, like Plaintiff,
4                 received two or more texts within a 12-month period (the
5                 “Sub-Class”).

6    The Class and Sub-Class are collectively referred to herein as the “Class”.
7          30.    Upon information and belief, Jackson Hewitt texted more than 1,000
8    cellular telephone numbers for the purpose of encouraging the purchase of its
9    goods and services in 2019, using the same or similar texting system as was used
10   in the calls to Plaintiff, without prior written authorization.
11         31.    Common questions of law or fact exist as to all members of the Class
12   and Sub-Class, and predominate over any questions solely affecting any
13   individual member, including Plaintiff. Such common questions include, but are
14   not limited to, the following:
15                a.     Whether the texts at issue used an “automatic telephone
16                       dialing system” or an “artificial or prerecorded voice” as such
17                       terms are defined or understood under the TCPA and
18                       applicable FCC regulations and orders;
19                b.     Whether Jackson Hewitt had “prior express written consent”
20                       to contact Plaintiff and the other members of the Class when
21                       causing calls to be made to such persons’ cell phones using an
22                       automatic telephone dialing system or an artificial or
23                       prerecorded voice, pursuant to 47 C.F.R. § 64.1200(f)(8);
24                c.     Whether Jackson Hewitt implemented proper Do Not Call
25                       procedures under 47 C.F.R. § 64.1200(d); and
26                d.     Damages, including whether Defendant’s violations were
27                       performed willfully or knowingly such that Plaintiff and the
28
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1                        other members of the Class are entitled to trebled damages
2                        under 47 U.S.C. §§ 227(b)(3) or 227(c)(5).
3          32.    Plaintiff’s claims are typical of the claims of the other members of
4    the Class. The factual and legal bases of Jackson Hewitt’s liability to Plaintiff
5    and the other Class members are the same: Defendant violated the TCPA by
6    sending texts to each member of the Class, including Plaintiff, using an automatic
7    telephone dialing system, without the requisite permission.
8          33.    Plaintiff will fairly and adequately protect the interests of the Class.
9    Plaintiff has no interests that might conflict with the interests of the Class, is
10   interested in pursuing these claims vigorously, and has retained counsel
11   competent and experienced in class and complex litigation, including with regard
12   to the claims alleged herein.
13         34.    Class action treatment is superior to all other alternatives for the fair
14   and efficient adjudication of the controversy alleged herein. Such treatment will
15   permit a large number of similarly situated persons to prosecute their common
16   claims in a single forum simultaneously, efficiently, and without the duplication
17   of effort and expense that numerous individual action would entail. There are, on
18   information and belief, thousands of members of the Class, such that joinder of all
19   members is impracticable.
20         35.    No difficulties are likely to be encountered in the management of
21   this action that would preclude its maintenance as a class action, and no superior
22   alternative exists for the fair and efficient adjudication of this controversy.
23         36.    Defendant has acted and failed to act on grounds generally
24   applicable to Plaintiff and the other members of the Class, thereby making relief
25   appropriate with respect to the Class as a whole. Prosecution of separate actions
26   by individual Class members, should they even realize that their rights have been
27   violated, would likely create the risk of inconsistent or varying adjudications with
28
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1    respect to individual Class members that would establish incompatible standards
2    of conduct.
3           37.    The identity of the Class is, on information and belief, readily
4    identifiable from Defendant’s and its vendors’ records.          CallFire’s texting
5    platform permits users to easily do sophisticated queries that will identify Class
6    members. Moreover, Jackson Hewitt knows – or should know – which phone
7    numbers it texted. Plaintiff thus anticipates issuing direct notice to all members
8    of the Class identifiable through Defendant’s records or those of its vendors,
9    including by means of a reverse-lookup, if necessary, supplemented by internet or
10   other form of publication notice.
11                                     COUNT I
                       Violations of the TCPA, 47 U.S.C. § 227
12
          (Autodialed and/or Artificial or Prerecorded Voice Call Violations)
13
            38.    Plaintiff re-alleges and incorporates the foregoing allegations as if
14
     fully set forth herein.
15
            39.    It is a violation of the TCPA to make “any call (other than a call
16
     made for emergency purposes or made with the prior express consent of the
17
     called party) using any automatic telephone dialing system or an artificial or
18
     prerecorded voice … to any telephone number assigned to a … cellular telephone
19
     service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
20
            40.    Jackson Hewitt initiated, or caused to be initiated, calls to the
21
     cellular telephone numbers of Plaintiff and the other members of the Class by
22
     using an automatic telephone dialing system, or an artificial voice.
23
            41.    These calls were made without regard to whether or not Defendant
24
     had previously obtained proper consent or permission from the called party to
25
     make such calls. Jackson Hewitt did not have prior express consent to call the cell
26
     phones of Plaintiff and the other members of the Class when the calls were made.
27
28
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1          42.     The texts Plaintiff and other Class members received did not
2    properly explain how to opt-out of future texts, pursuant to 47 C.F.R. §
3    64.1200(b).
4          43.     Defendant’s calls and violations were negligent; alternatively, they
5    were willful or knowing.
6          44.     On information and belief, some of the calls to Plaintiff and the
7    Class were made by vendors of Defendant. Defendant is liable for those calls, too.
8          45.     As a result of Defendant’s conduct and pursuant to Section 227(b)(3)
9    of the TCPA, Plaintiff and the other members of the Class were harmed and are
10   each entitled to a minimum of $500 in damages for each violation. Plaintiff and
11   the Class are also entitled to an injunction against future calls. 47 U.S.C. §
12   227(b)(3).
13         46.     Jackson Hewitt has been sued for TCPA violations before, and
14   knows about the TCPA’s restrictions.         It elected to send the text messages
15   described herein in spite of its knowledge and prior experience.
16         47.     Because Defendant knew or should have known that Plaintiff and the
17   other members of the Class had not given prior express consent to receive its text
18   message calls to their cell phones—and/or willfully caused such calls to be made
19   to the cell phones of Plaintiff and the other members of the Class without prior
20   express consent—the Court should treble the amount of statutory damages
21   available to Plaintiff and the other members of the Class, pursuant to Section
22   227(b)(3) of the TCPA.
23         48.     Moreover, because Jackson Hewitt has been sued for TCPA
24   violations before but failed to cease the illegal activity, it is clear that both money
25   damages and injunctive relief are necessary to wrench proper compliance.
26         WHEREFORE, Plaintiff, individually and on behalf of the Class,
27   requests that the Court appoint Plaintiff as Class representative, appoint his
28
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1    counsel as Class Counsel, and enter judgment against Defendant for:
2                  A.   Certification of the Class as alleged herein;
3                  B.   A declaration that Defendant violated the TCPA as to Plaintiff
4                       and the Class;
5                  C.   An injunction to prevent further violations;
6                  D.   Damages pursuant to 47 U.S.C. § 227(b)(3), as applicable;
7                  E.   Costs, expenses, and attorneys’ fees, to the extent permitted by
8                       law; and
9                  F.   Such other or further relief as the Court deems just and proper.
10                                         COUNT II
                            Violations of the TCPA, 47 U.S.C. § 227
11
                               (Internal Do Not Call Violations)
12
             49.        Plaintiff re-alleges and incorporates the foregoing allegations as if
13
     fully set forth herein. Plaintiff brings this Count II on behalf of himself and the
14
     Sub-Class.
15
             50.        The TCPA, 47 C.F.R. § 227(d), prohibits all telemarketing phone
16
     calls and text messages, unless the caller has, and honors, a written internal Do
17
     Not Call policy.
18
             51.        Jackson Hewitt’s internal Do Not Call policy is posted on the
19
     Internet, but the policy states that it applies to Nevada residents only. See Exhibit
20
     B.
21
             52.        The policy states: “Depending on where you live, you may have
22
     additional privacy protections under some state laws.”
23
             53.        While it is true that some states may afford internal Do Not Call
24
     protections, this written policy fails to notify consumers of their rights under
25
     federal law.
26
             54.        Even if Jackson Hewitt has another internal Do Not Call policy
27
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1    designed to deal with the TCPA, the false statements in Exhibit B regarding
2    consumers’ Do Not Call rights, which are prominently posted on the Internet,
3    overshadow any such policy: Of course, the federal TCPA requires nationwide
4    compliance, not just state-by-state compliance.
5            55.        Because Jackson Hewitt’s internal Do Not Call policy is
6    noncompliant with 47 C.F.R. § 64.1200(d), Jackson Hewitt was not allowed to
7    send any text messages or make any calls, the purpose of which were to solicit
8    sale of goods or services.
9            56.        Plaintiff received more than one text on his cell phone within a
10   12-month period while Jackson Hewitt did not have proper Do Not Call policies.
11   Indeed, as described above, when Plaintiff called to inquire about the texts, the
12   local office took a long time to figure out what was going on, making it apparent
13   that it had not been properly trained as to this telemarketing, or requests not to
14   call.
15           57.        Plaintiff and the Sub-Class were damaged by Jackson Hewitt’s
16   failure to maintain a proper internal Do Not Call policy, and/or to adhere to the
17   one it had. Their privacy was invaded in receiving unsolicited calls, and they
18   were not provided adequate or legal explanation of how to cause Jackson Hewitt
19   to stop.
20           58.        The violations described herein were reckless or intentional.
21   Jackson Hewitt knows about the TCPA’s requirements to have a valid internal Do
22   Not Call policy, but has elected not to do so.
23           WHEREFORE, Plaintiff, individually and on behalf of the Sub-
24   Class, requests that the Court appoint him as Class representative, appoint
25   his counsel as Class Counsel, and enter judgment against Defendant for:
26                 A.   Certification of the Sub-Class as alleged herein;
27                 B.   A declaration that Defendant violated the TCPA as to Plaintiff
28
                                    CLASS ACTION COMPLAINT
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1                    and the Sub-Class;
2             C.     An injunction to prevent further violations;
3             D.     Damages pursuant to 47 U.S.C. § 227(c)(5), as applicable;
4             E.     Costs, expenses, and attorneys’ fees, to the extent permitted by
5                    law; and
6             F.     Such other or further relief as the Court deems just and proper.
7                                      JURY DEMAND
8          Plaintiff requests a jury trial as to all claims so triable.
9                                                Respectfully submitted,
10
                                                 JEFF HANCOCK, Individually and on
11                                               Behalf of All Others Similarly Situated
12
     Dated: April 5, 2019                        By:     /s/ Kolin C. Tang
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